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            9    Attorneys for Proposed Intervenor
                 Lincoln Educational Services Corporation
          10
                                              UNITED STATES DISTRICT COURT
          11
                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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          13      THERESA SWEET, ALICIA DAVIS, TRESA
                  APODACA, CHENELLE ARCHIBALD,                      Case No. 19-cv-03674-WHA
          14      DANIEL DEEGAN, SAMUEL HOOD, and
                  JESSICA JACOBSON on behalf of themselves          Judge:     Hon. William H. Alsup
          15      and all others similarly situated,                Courtroom: 12
          16                    Plaintiffs,                         NOTICE OF APPEARANCE OF
                                                                    COUNSEL FOR PROPOSED
          17             v.                                         INTERVENOR LINCOLN
                                                                    EDUCATIONAL SERVICES
          18      MIGUEL CARDONA, in his official capacity          CORPORATION
                  as Secretary of the United States Department of
          19      Education, and                                    (Class Action)
                                                                    (Administrative Procedure Act Case)
          20      THE UNITED STATES DEPARTMENT OF
                  EDUCATION,
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          22                    Defendants.
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Gibson, Dunn &       NOTICE OF APPEARANCE OF COUNSEL FOR PROPOSED INTERVENOR LINCOLN EDUCATIONAL
Crutcher LLP
                                                 SERVICES CORPORATION
                                               CASE NO. 3:19-CV-03674-WHA
                      Case 3:19-cv-03674-WHA Document 252 Filed 07/13/22 Page 2 of 3


            1    TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
            2           PLEASE TAKE NOTICE that James L. Zelenay, Jr. of Gibson, Dunn & Crutcher LLP, a
            3    member of the State Bar of California (SBN 237339) and admitted to practice in this Court, hereby
            4    appears on behalf of Proposed Intervenor Lincoln Educational Services Corporation in this action,
            5    and is authorized to receive service of all pleadings, notices, orders, and other papers regarding this
            6    action on its behalf. His address, telephone, facsimile, and email are as follows:
            7                   JAMES L. ZELENAY, JR., SBN 237339
                                jzelenay@gibsondunn.com
            8                   Gibson, Dunn & Crutcher LLP
            9                   333 South Grand Avenue
                                Los Angeles, CA 90071-3197
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                                Facsimile:    213.229.7520
          11

          12
                 Dated: July 13, 2022                          GIBSON, DUNN & CRUTCHER LLP
          13

          14                                                   By:          /s/ James L. Zelenay, Jr.
                                                                                James L. Zelenay, Jr.
          15

          16                                                   Attorneys for Proposed Intervenor Lincoln Educational
                                                               Services Corporation
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Gibson, Dunn &       NOTICE OF APPEARANCE OF COUNSEL FOR PROPOSED INTERVENOR LINCOLN EDUCATIONAL
Crutcher LLP
                                                 SERVICES CORPORATION
                                               CASE NO. 3:19-CV-03674-WHA
                      Case 3:19-cv-03674-WHA Document 252 Filed 07/13/22 Page 3 of 3


            1                                        CERTIFICATE OF SERVICE
            2           I hereby certify that on July 13, 2022, I caused to be electronically filed the foregoing
            3    NOTICE OF APPEARANCE OF COUNSEL FOR PROPOSED INTERVENOR LINCOLN
            4    EDUCATIONAL SERVICES CORPORATION with the Clerk of the Court via CM/ECF. Notice
            5    of this filing will be sent by email to all parties by operation of the Court’s electronic filing systems.
            6

            7    Dated: July 13, 2022                           GIBSON, DUNN & CRUTCHER LLP
            8
                                                                By:          /s/ James L. Zelenay, Jr.
            9                                                                    James L. Zelenay, Jr.
          10
                                                                Attorneys for Proposed Intervenor Lincoln Educational
          11                                                    Services Corporation
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                                                 SERVICES CORPORATION
                                               CASE NO. 3:19-CV-03674-WHA
